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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                      Alexandria Division


KEVIN CAVEY,                                       )
                                                   )
        Plaintiff,                                 )
                                                   )
v.                                                 )   Civil Action No. 1:21-cv-119
                                                   )
                                                   )
MARKETPRO HOMEBUYERS, LLC,                         )
                                                   )
        Defendant.                                 )




                                         JUDGMENT

        Pursuant to the order of this Court entered on 6/7/2021 and in accordance with Federal

Rules of Civil Procedure 58, JUDGMENT is hereby entered in favor of the Defendant and

against the Plaintiff.




                                             FERNANDO GALINDO, CLERK OF COURT


                                             By:                    /s/
                                                   Dani Zirk
                                                   Deputy Clerk

Dated: 6/7/2021
Alexandria, Virginia
